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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE


                                                     )
       In Re:                                        )
                                                     )      CHAPTER 11
       DAVID’S BRIDAL, INC. et al.,                  )
                                                     )      Case No. 18-12635(LSS)
                                                     )
                                                     )      (Joint Administration Pending)
       Debtors.                                      )
                                                     )


                       NOTICE OF APPEARANCE AND REQUEST
                       FOR NOTICES AND SERVICE OF PAPERS

        PLEASE TAKE NOTICE that Ronald M. Tucker, 225 West Washington Street,
Indianapolis, Indiana 46204 represents Simon Property Group, L.P., as landlord (Creditor) and
party in interest in the above case. The undersigned hereby enters his appearance pursuant to
Section 1109 (b) of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 9010 (b)
and request copies of all notices and pleading’s pursuant to Federal Rules of Bankruptcy
Procedure 2002 (a). All such notices should be addressed as follows:

                                  Simon Property Group, L.P.
                                  Attn: Ronald M. Tucker, Esq.
                                  225 West Washington Street
                                  Indianapolis, Indiana 46204

        PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109 (b) of the
Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in
the Rules specified above, but also includes, without limitation, notices of any application,
complaint, demand, hearing, motion, petition, pleading or request, whether formal or informal,
written or oral, and whether transferred or conveyed by mail, delivery, telephone, telegraph, telex
or otherwise filed with regard to the above case and proceedings therein.

                              Respectfully submitted

                              ______/s/Ronald M. Tucker___________________
                              Ronald M. Tucker, Esq., Attorney for
                              Simon Property Group, L.P. and its related entities
                              IN 11428-49
                              (317) 263-2346
                              (317) 263-7901 (FAX)
                              E-mail address: rtucker@simon.com
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                              CERTIFICATE OF SERVICE

     The undersigned hereby certifies that a copy of the foregoing was served this 19th day of
November, 2018 via ECF Noticing to the parties of record.

                                           By: ____/s/Ronald M. Tucker___________
                                                 Ronald M. Tucker, Esq.

Debtor                                     represented by Leslie C. Heilman
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                                                          David L. Pollack
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